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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF ILLINOIS
____________________________________

IN RE: TESTOSTERONE                                     )   MDL No. 2545
REPLACEMENT THERAPY                                     )   Master Docket Case No. 1:14-cv-1748
PRODUCTS LIABILITY LITIGATION                           )   Honorable Matthew F. Kennelly
-----------------------------------------------------   )
                                                        )
This Document Relates to Case:                          )
                                                        )
Carlos Guffey,                                          )   Case No. 1:16-cv-4723
                                                        )
v. AbbVie, Inc., et al                                  )
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                                                    NOTICE

       Pursuant to the Order entered March 29, 2019, Plaintiff’s counsel certifies that on April 1,
2019, a copy of the Order entered March 29, 2019 was sent to plaintiff Carlos Guffey via certified
U.S. Mail to 522 Lay Hill, Wallins Creek, KY 40873.



Dated: April 1, 2019                                              /s/Brian J. Perkins
                                                                  Brian J. Perkins
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